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            USCA11 Case: 22-10021 Date Filed: 06/28/2022 Page: 1 of 2


                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

  David J. Smith                                                                    For rules and forms visit
  Clerk of Court                                                                    www.ca11.uscourts.gov


                                           June 28, 2022
                                                                                                AP
  Clerk - Southern District of Florida
  U.S. District Court
  400 N MIAMI AVE                                                                Jun 28, 2022
  MIAMI, FL 33128-1810
                                                                                                     MIAMI
  Appeal Number: 22-10021-JJ
  Case Style: USA v. Isac Schwarzbaum
  District Court Docket No: 9:18-cv-81147-BB

  The enclosed copy of the Clerk's Order of Dismissal pursuant to appellant's motion to dismiss is
  issued as the mandate of this court. See 11th Cir. R. 42-1(a).

  Any pending motions are now rendered moot in light of the attached order.

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Tiffany A. Tucker, JJ/lt
  Phone #: (404)335-6193

  Enclosure(s)

                                                            DIS-3 Letter and Entry of Dismissal Vol
Case 9:18-cv-81147-BB Document 148 Entered on FLSD Docket 06/30/2022 Page 2 of 2
            USCA11 Case: 22-10021 Date Filed: 06/28/2022 Page: 2 of 2



                       IN THE UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT

                                        ______________

                                        No. 22-10021-JJ
                                        ______________

  UNITED STATES OF AMERICA,

                                                   Plaintiff - Appellee,

  versus

  ISAC SCHWARZBAUM,

                                             Defendant - Appellant.
                       __________________________________________

                          Appeal from the United States District Court
                              for the Southern District of Florida
                       __________________________________________

  ORDER: Pursuant to Appellant Isac Schwarzbaum's motion for voluntary dismissal, FRAP
  Rule 42 and 11th Cir. R. 42-1(a), the above referenced appeal was duly entered dismissed on
  this date.

  Effective June 28, 2022.

                                        DAVID J. SMITH
                             Clerk of Court of the United States Court
                                of Appeals for the Eleventh Circuit

                                                          FOR THE COURT - BY DIRECTION
